Case 1:19-cv-02594-RM-SKC Document 1-18 Filed 09/12/19 USDC Colorado Page 1 of 6




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                                                                       17
Case 1:19-cv-02594-RM-SKC Document 1-18 Filed 09/12/19 USDC Colorado Page 2 of 6
Case 1:19-cv-02594-RM-SKC Document 1-18 Filed 09/12/19 USDC Colorado Page 3 of 6
Case 1:19-cv-02594-RM-SKC Document 1-18 Filed 09/12/19 USDC Colorado Page 4 of 6
Case 1:19-cv-02594-RM-SKC Document 1-18 Filed 09/12/19 USDC Colorado Page 5 of 6
Case 1:19-cv-02594-RM-SKC Document 1-18 Filed 09/12/19 USDC Colorado Page 6 of 6
